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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-MD-2924


   IN RE: ZANTAC (RANITIDINE)
   PRODUCT LIABILITY LITIGATION

   __________________________________________/

                                ORDER TO SHOW CAUSE

          The Court raises this matter sua sponte.

          On February 25, 2021, Judge Rosenberg entered Pretrial Order #60 (“PTO 60”)

   to address procedures relating to discovery between Plaintiffs and a group of

   defendants referenced as “the Generic Manufacturer Defendants.” ECF No. 2877.

          PTO 60 contained provisions relating to upcoming depositions noticed under

   Federal Rule of Civil Procedure 30(b)(6). It ordered:

      •   No later than February 28, 2021, all Generic Manufacturer Defendants will
          provide Plaintiffs a list of proposed initial custodians, which shall include: (a)
          the custodian’s full name, (b) job title(s), (c) department the custodian worked
          in, and (d) years employed. This list does not represent a complete list of all
          custodians for this case but should represent Generic Manufacturer
          Defendants’ proposal for all custodians they deem relevant, taking into account
          the allegations in the Master Pleadings, the discovery requests at issue, and
          the three Rule 30(b)(6) deposition notices served to date. Custodians should
          span the relevant time period in Plaintiffs’ requests for production. Generic
          Manufacturer Defendants will meet and confer with Plaintiffs individually to
          determine the sufficiency of their custodial lists in light of the amended class
          pleadings and Defendants’ document productions, understanding that
          Plaintiffs presently do not have sufficient information to identify all relevant
          custodians from any Generic Manufacturer Defendant.

   PTO 60 §II(B)(2).
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      •   “No later than February 28, 2021, each Generic Manufacturer Defendant will
          provide to Plaintiffs the number of witnesses it expects to produce for each
          deposition notice and tentative dates on which it will present each witness for
          deposition in accordance with the below scheduling requirements, such dates
          and witnesses being subject to revision up to three days after the Court’s order
          on the Pretrial Order # 32 hearing issues. Notwithstanding this deadline, this
          Court encourages Generic Manufacturer Defendants to provide dates as soon
          as possible in light of the number of depositions to be scheduled and the limited
          number of depositions that can be scheduled on the same date.

                  a) Each Generic Manufacturer Defendant will provide a date in April
                     2021 to produce its witnesses on the issues of storage and transport.

                  b) Each Generic Manufacturer Defendant will provide a date in May
                     2021 to produce its witnesses on the issues of manufacturing.

                  c) Each Generic Manufacturer Defendant will provide a date in May
                     2021 or prior to June 15, 2021 to produce its witnesses on the issues
                     of pharmacovigilance.


   PTO 60 §II(C)(2).

          At a discovery dispute hearing on March 4, 2021, Plaintiffs represented that the following

     Generic Manufacturer Defendants had not complied with the deadline in PTO 60 §II(C)(2):

          Ajanta Pharma USA Inc.

          Apotex Corporation

          Aurobindo Pharma USA, Inc.

          Aurobindo Health LLC

          Granules USA, Inc.

          Heritage Pharmaceuticals, Inc.

          Heritage Pharma Labs Inc.

          Ranbaxy Inc.

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         Sun Pharmaceutical Industries, Inc f/k/a Ranbaxy Pharmaceuticals Inc.

         Taro Pharmaceuticals U.S.A., Inc.

         Torrent Pharma Inc,

         Wockhardt USA LLC

         Wockhardt USA, Inc.

   ECF No. 2938-1.      The Generic Manufacturer Defendants did not dispute these

   allegations. Hrg. Transcript at 8-11.

         Plaintiffs also represented that the following Generic Manufacturer

   Defendants had not complied with the deadline in PTO 60 §II(B)(2):

         Nostrum Laboratories Inc.

         Novitium Pharma LLC

   Hrg. Transcript at 7-8.

         WHEREFORE, it is ordered that each of the above-listed entities shall appear

   before the Court and show cause why they should not be sanctioned by the

   undersigned for non-compliance with PTO 60 and/or why the undersigned should not

   certify facts to a district judge and order the entity to appear before the district judge

   to show cause why it should not be adjudged in contempt by reason of the facts so

   certified. See 28 U.S.C. §636(e)(6)(B). Any entity wishing to file a written Response

   to this Order to Show Cause may do so by 5:00 p.m. EST on March 24, 2021. Any

   Reply by Plaintiffs shall be filed by 5:00 p.m. EST April 7, 2021. No further

   pleadings shall be filed without leave of court.          After reviewing the parties’

   submissions, the undersigned will determine whether to hold further hearings.
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         DONE and ORDERED in Chambers this 9th day of March, 2021, in

   chambers at West Palm Beach in the Southern District of Florida.




                                  ____________________________________
                                     BRUCE E. REINHART
                                     UNITED STATES MAGISTRATE JUDGE




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